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                              UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF IDAHO


    COLE ROBINSON, et al.,
                                                           Case No. 1:24-cv-00306-DCN
          Plaintiffs,
                                                           AMENDED MEMORANDUM
    v.                                                     DECISION AND ORDER

    RAUL LABRADOR, et al.,

          Defendants.


                                         I. INTRODUCTION

         Before the Court is Plaintiffs’ Motion for Preliminary Injunction (Dkt. 80), which

seeks the same relief as the Court’s previously-issued preliminary injunction (Dkt. 58) that

is set to expire on December 2, 2024. State Defendants1 opposed the Motion (Dkt. 87), and

Plaintiffs replied (Dkt. 90). Because oral argument would not significantly aid its decision-

making process, the Court will decide the motion on the briefing. Dist. Idaho Loc. Civ. R.

7.1(d)(1)(B). Upon consideration, and for the reasons set forth below, the Motion is

GRANTED.



1
 The Court will use the term “State Defendants” to refer to defendants Raul Labrador in his official capacity
as Attorney General of the State of Idaho, Josh Tewalt in his official capacity as the Director of the Idaho
Department of Corrections, Brad Little in his official capacity as Governor of the State of Idaho, and Bree
Derrick in her official capacity as the Deputy Director of the Idaho Department of Corrections. Defendants
Centurion Health and Centurion of Idaho, LLC (together, “Centurion”) are private healthcare organizations
that contract with the Idaho Department of Corrections to provide medical care for prisoners in state
custody. Centurion did not oppose Plaintiffs’ Motion.


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                                           II. BACKGROUND

        Plaintiffs Katie Heredia and Rose Mills2 are challenging Idaho Code § 18-8901 (the

“Act”), which took effect on July 1, 2024. The Act prohibits the use of public funds for

medical interventions—surgical or otherwise—that “alter[] the appearance of an individual

in order to affirm the individual’s perception of the individual’s sex in a way that is

inconsistent with the individual’s biological sex[.]” Id. at § 18-8901(2).

        Heredia and Mills are two transgender women who are currently incarcerated in

facilities administered by the Idaho Department of Corrections (“IDOC”). They bring this

claim as a putative class action on behalf of “all incarcerated persons in the custody of

IDOC who are, or will be diagnosed with gender dysphoria, and are receiving, or would

receive, hormone therapy proscribed by [the Act].” Dkt. 1, at 4. Both Heredia and Mills

have been diagnosed with Gender Dysphoria and have been prescribed regular hormone-

altering medications as a form of treatment. See, e.g., Dkt 2-2; Dkt. 2-4. They argue the

Act denies them and other similarly situated inmates necessary medical treatment in

violation of the Eighth Amendment and 42 U.S.C. § 1983. Dkt. 1, at 18–20.

        In a prior order, the Court certified the proposed class3 and enjoined enforcement of

the Act as it applied to the use of state funds for providing hormone therapy while the


2
  Katie Heredia’s legal name is Cole Robinson, and Rose Mills’ legal name is Brody Mills. At times, Katie
Heredia has been referred to as Katie Robinson. The Court will use Heredia and Mills’ preferred names
throughout this Order.
3
 As Plaintiffs’ point out, the Court previously granted Plaintiffs’ request for class certification, but the Court
was granting a Motion for Provisional Class Certification from Plaintiffs. See Dkt. 80-1, at 3 n.2. Because
the Court is granting a new preliminary injunction, it will not address the potential expiration of a
provisional certification along with a preliminary injunction under the PLRA. See Ahlman v. Barnes, 20
F.4th 489, 495 (9th Cir. 2021). However, it was the Court’s intention that the class certification be


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lawsuit was pending. Dkt. 58, at 28. During a telephonic scheduling conference with all

the parties, counsel for Plaintiffs notified the Court that the original preliminary injunction

would expire on December 2, 2024, in accordance with the 90-day automatic expiration

set forth in 18 U.S.C. § 3626(a)(2). The Court asked for additional briefing on the issue,

and Plaintiffs filed the instant Motion for Preliminary Injunction.

        The Court granted Plaintiffs’ Motion to Expedite (Dkt. 82), and State Defendants

challenged the Motion for Preliminary Injunction (Dkt. 87). The Court must now decide

whether, under 18 U.S.C. § 3626(a)(2), the preliminary injunction may continue past

December 2, 2024.

                                     III. LEGAL STANDARDS

        A. 18 U.S.C. § 3626(a)(2)

        Under the Prison Litigation Reform Act (“PLRA”), when a court enters a

preliminary injunction in a civil action with respect to prison conditions, the injunction will

automatically expire 90 days after its entry unless the court enters a final injunctive order

finding “such relief is narrowly drawn, extends no further than necessary to correct the

violation of the Federal right, and is the least intrusive means necessary to correct the

violation” before the 90 days expires. 18 U.S.C. § 3626(a)(2).

        The Ninth Circuit has addressed this section of the PLRA on two separate occasions

which are relevant here. First, it has held that entering a second preliminary injunction after




permanent, and the reasons provided in its previous Order for class certification still stand. See Dkt. 58, at
11–26. This does not preclude Defendants from seeking decertification of the class in the future. See Fed.
R. Civ. Pro. 23(c)(1)(C).


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the first one has expired does not violate the PLRA. Mayweathers v. Newland, 258 F.3d

930, 936 (9th Cir. 2001). On the other hand, it has held that “§ 3626(a)(2) provides no way

to extend a preliminary injunction other than making the injunctive relief final.” Ahlman v.

Barnes, 20 F.4th 489, 494 (9th Cir. 2021). Reading these two cases together, the Court can

enter a successive preliminary injunction, but it cannot extend its initial order without

making it final after reaching the requisite findings. Plaintiffs still have the burden of proof

as to whether preliminary relief is warranted. Mayweathers, 258 F.3d at 936.

        B. Preliminary Injunction

        The standard for issuing a preliminary injunction has not changed since the Court’s

order three months ago. To qualify, plaintiffs must show “(1) they are likely to prevail on

the merits of its substantive claims, (2) they are likely to suffer imminent, irreparable harm

absent an injunction, (3) the balance of equities favors an injunction, and (4) an injunction

is in the public interest.” Alliance for the Wild Rockies v. Petrick, 68 F.4th 475, 490 (9th

Cir. 2023) (citing Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20, 22–23 (2008).

        The Ninth Circuit has further instructed district courts to evaluate these factors “on

a sliding scale, such that a stronger showing of one element may offset a weaker showing

of another.” Fellowship of Christian Athletes v. San Jose Unified Sch. Dist. Bd. Of Educ.,

82 F.4th 664, 684 (9th Cir. 2023) (cleaned up).4 This approach permits the imposition of a

preliminary injunction where a plaintiff shows only “serious questions going to the


4
  As the Ninth Circuit has noted before, there is a growing circuit split on the question of whether the
sliding-scale approach is consistent with the Supreme Court’s opinion in Winter. See Flathead-Lolo-
Bitterroot Citizen Task Force v. Montana, 98 F.4th 1180, 1190 n.12 (9th Cir. 2024). The Court will continue
to apply the sliding-scale approach because the Ninth Circuit has expressly held the approach is consistent
with the Supreme Court’s decision. Id.


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merits”—and not a likelihood of success on the merits—as long as the hardship balance

“tips sharply” in the plaintiff’s favor, and the other Winter factors are met. Alliance for the

Wild Rockies, 68 F.4th at 490–91. The serious-questions standard is satisfied where a

plaintiff raises questions “that cannot be resolved one way or the other at the hearing on

the injunction because they require more deliberative investigation.” Id. at 497 (cleaned

up); see also Fellowship of Christian Athletes, 82 F.4th at 684 (explaining a showing of

“serious questions” is “a lesser showing than likelihood of success”). Additionally, when

“the government opposes a preliminary injunction, the third and fourth factors merge into

one inquiry.” Poretti v. Dzurenda, 11 F.4th 1037, 1047 (9th Cir. 2021).

       Finally, under the PLRA, “preliminary injunctive relief must be narrowly drawn,

extend no further than necessary to correct the harm the court finds requires preliminary

relief, and be the least intrusive means necessary to correct that harm.” 18 U.S.C. §

3626(a)(2). This is referred to as the needs-narrowness-intrusiveness requirement.

                                     IV. DISCUSSION

   A. The Court’s Authority to Issue a Successive Preliminary Injunction

       State Defendants contend the Court “lacks the authority to renew its preliminary

injunction under the PLRA.” Dkt. 87, at 4. This statement is correct in the sense that the

Court cannot renew the already existing preliminary injunction without making a final order

that includes the requisite findings set forth by the PLRA. However, State Defendants also

assert that “Plaintiffs have simply cited outdated and poorly reasoned case law on this




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issue,”5 (Id.) and the Court has no authority to issue a new preliminary injunction in this case.

State Defendants are not correct in this argument.

        In Mayweathers, a district court entered a preliminary injunction allowing Muslim

inmates to attend religious services without disciplinary action. 258 F.3d at 933–34.

Defendants appealed the first injunction, and the district court entered an identical

preliminary injunction two months after the expiration of the first injunction under the

PLRA. Id. at 934. The defendants appealed the district court’s entry of the second

preliminary injunction as well, and the two appeals were consolidated. Id. The Ninth Circuit

explicitly held that a district court may enter a new injunction after the expiration of an initial

injunction and not violate the PLRA. Id. at 936 (“Nothing in the statute limits the number of

times a court may enter preliminary relief.”)

        In Ahlman v. Barnes, a district court entered a preliminary injunction requiring the

implementation of COVID-19 protective measures within jails. 20 F.4th at 492. While

several appeals were pending in the case, including an emergency appeal to the United States

Supreme Court, the preliminary injunction was stayed until the appeals could be resolved.

Id. at 492–93. During the stay, the preliminary injunction 90-day expiration date passed, and

when the district court did not enter a second injunction, plaintiffs moved to dismiss the

appeal of the preliminary injunction as moot. Id. at 493. Defendants argued the stay


5
  The case law to which the State Defendants are referring is Mayweathers v. Newland. While issued in
2001, no subsequent decision has overruled Mayweathers. In fact, it has been cited in less “outdated” cases
as the standard in issuing more than one preliminary injunction under the PLRA. See Hedrick v. Grant, 648
Fed. Appx. 715, note 1 (9th Cir. 2016) (“Mayweathers … may be properly read simply as stating that the
PLRA forces courts to frequently revisit prospective relief to ensure that it is no broader than necessary.”)
State Defendants’ do not elaborate as to why Mayweathers is “poorly reasoned,” but it seems the Ninth
Circuit tends to disagree.


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suspended the injunction, preventing it from expiring, so the appeal was not moot. Id. The

Ninth Circuit held the PLRA does limit a court’s traditional equitable power by not allowing

any extension of a preliminary injunction past 90 days (without a final order and specific

additional findings), where normally a preliminary injunction would last until the resolution

of the case on the merits. Id. at 494.

       However, and as Plaintiffs have pointed out, Ahlman goes on to discuss at length the

argument that the plaintiffs were likely to seek another preliminary injunction if the appeal

of the first injunction was dismissed. Id. at 495. And rather than stating the plaintiffs would

be unable to obtain a second preliminary injunction, the court discussed the changed

circumstances within the jails that would make the chance of the plaintiffs successfully

acquiring another preliminary injunction remote. Id. The court even said, “[A]ny subsequent

injunction would be based on an entirely new set of factual circumstances.” Id. The Court

agrees with Plaintiffs’ argument that this later discussion indicates that the power of the

district court to enter a second preliminary injunction under the PLRA is assumed, and even

if it isn’t, Ahlman certainly wasn’t overturning the holding in Mayweathers which is directly

on point in this case.

       The Court agrees with the holding in Ahlman to the extent that the PLRA does limit

a court’s traditional authority to issue preliminary equitable relief until the resolution of a

case on the merits. However, the Court finds that the PLRA does not preclude the issuance

of multiple subsequent injunctions, each to last 90 days, if Plaintiffs can continue to prove

that preliminary relief is warranted. “The imposition of this burden conforms with how the

PLRA governs the termination of final prospective relief.” Mayweathers, 258 F.3d at 936.


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Thus, the Court will issue another preliminary order here if Plaintiffs have met that burden.

   B. Preliminary Injunction

       The Court will again briefly take up each factor of the preliminary injunction test in

turn, followed by the needs-narrowness-intrusiveness requirement under the PLRA.

       1. Serious Question Going to the Merits

       The Court’s analysis under this factor is becoming increasingly tied with State

Defendants’ concerns raised under the irreparable harm factor. The Court reemphasizes that

the question as to the medical necessity of gender-affirming care does not come with a simple

answer. And as State Defendants rightly point out, Plaintiffs are not medical professionals

(nor are the Court or State Defendants). Understanding the implications of tapering

incarcerated individuals off hormone-therapy will require “deliberative investigation” and

presentation of (likely extensive) evidence on both sides of the issue.

       The government still has an “obligation to provide medical care for those whom it is

punishing by incarceration.” Estelle v. Gamble, 429 U.S. 97, 103 (1976). Where the

Government shows “deliberate indifference” to the serious medical needs of a prisoner

by choosing a course of treatment that is medically unacceptable in conscious disregard

of an excessive risk to the plaintiff’s health, the Government violates the Eight

Amendment rights of those prisoners. Id. at 104; Hamby v. Hammond, 821 F.3d 1085,

1092 (9th Cir. 2016). As stated in the Court’s prior order, the Court does not, and indeed

cannot, have an answer as to whether the denial of hormone therapy for inmates

diagnosed with gender dysphoria is medically unacceptable and creates an excessive risk

to their health without further investigation and evidence. Dkt. 58, at 9.


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       State Defendants balk at Plaintiffs’ contention that “nothing has changed” since

the Court issued its prior preliminary injunction; but in this particular context, the

contention is correct. The parties are just beginning discovery, and neither party has had

an opportunity to formally gather and present evidence to the Court touching on the

medical necessity of hormone therapy. Plaintiffs’ original evidence from the World

Professional Association for Transgender Health and the declaration of Randi C. Ettner

on standards of care for transgender individuals remain applicable here. The Court

remains convinced that the Idaho Legislature has not, in the past 90 days, conclusively

answered whether hormone therapy is medically necessary.

       Until the parties present the Court with more definitive evidence one way or

another as to the medical necessity of hormone therapy to individuals with gender

dysphoria, there continues to be a serious question as to the merits of this case, and this

factor weighs in favor of granting another preliminary injunction.

       2. Irreparable Harm

       State Defendants renew their objection to Plaintiffs’ affidavits as evidence of

irreparable harm to the named Plaintiffs and additionally argue the Plaintiffs “have failed to

show any evidence of irreparable harm with respect to absent class members.” Dkt. 87, at 6–

7. Irreparable harm can result where a plaintiff is likely to experience “emotional stress,

depression, and a reduced sense of well-being.” Chalk v. U.S. Dist. Court Cent. Dist. Of Cal.,

840 F.2d 701, 709 (9th Cir. 1988).

       Mills and Heredia have submitted new declarations emphasizing hormone therapy

has helped with their depression, mental stability, and a reduction in suicidality. Dkt. 80-2,


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at 2; Dkt. 80-3, at 2. Heredia in particular has been receiving hormone therapy for 10 years.

Dkt. 80-3, at 2. The Court will once again emphasize what it did in its last order, that the

“Plaintiffs’ assertion of likely irreparable harm would be on much firmer ground had they

introduced testimony from a medical expert who had evaluated them individually.” Dkt. 58,

at 10. If another preliminary injunction is necessary in this case in the future, the Court asks

that such an evaluation is provided to the Court.

       However, it remains true that Plaintiffs’ statements “are sufficient to show at least a

likely increase in emotional stress and a likely decrease in sense of well-being if they lose

access to hormone therapy.” Id. (citing Chalk, 840 F.2d at 709). Even though the Plaintiffs’

declarations are not necessarily the strongest possible evidence of irreparable harm, the Court

will not require proof of irreparable harm through tapering Mills and Heredia off their

hormone therapy to see if their anxiety, depression, and suicidality returns.

       As to State Defendants’ contention that there is no evidence of irreparable harm to

class members, the Court finds that an individualized showing of irreparable harm to each

class member is not necessary here because the blanket prohibition on hormone therapy for

any incarcerated individual diagnosed with gender dysphoria presents primarily the same

Eighth Amendment concerns for each class member. That is, even if, upon individual

evaluation by a medical professional, hormone therapy is determined to be medically

necessary for the treatment of that individual’s gender dysphoria, the Government would be

denying that treatment under the Act.6 This puts each inmate with gender dysphoria at


6
 Parsons v. Ryan, 754 F.3d 657 (9th Cir. 2014) is helpful here. Thirteen inmates in the custody of the
Arizona Department of Corrections (the “ADC”) challenged the ADC’s policies and practices relating to


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substantial risk of irreparable harm because they are automatically precluded from seeking a

recognized gender dysphoria treatment, even if it is determined to be medically necessary.

As such, this factor weighs in favor of granting a preliminary injunction.

        3. Balance of Equities/Public Interest

        “The ‘balance of equities’ concerns the burdens or hardships to [a plaintiff] compared

with the burden on [the defendant] if an injunction is ordered. The ‘public interest’ mostly

concerns the injunction’s impact on nonparties rather than parties.” Porretti v. Dzurenda, 11

F.4th 1037, 1050 (9th Cir. 2021) (cleaned up).

        The Court continues to recognize that Mills and Heredia have shown they are likely

to experience legitimate mental health and well-being issues if they lose access to hormone

therapy. And that is true even considering the Court does not yet have evidence as to the

extent of the potential harm to Mills, Heredia, or other class members. On the other side of

the scale, IDOC has continued to administer hormone therapy in accordance with its own

medical care policy that was in place prior to enactment of the Act. There has still been no

argument from State Defendants regarding the potential burden of continuing to provide

hormone therapy to the named plaintiffs and the class members. Therefore, the Court still




medical care, dental care, and mental health on behalf of all inmates in ADC custody. Id. at 662–63. While
addressing the question of commonality in certifying a class action, the court discussed the defendants’
argument that the district court abused its discretion in concluding the class members shared a common
question of law or fact. Id. at 675. In particular, the defendants contended “Eight Amendment healthcare
and conditions-of-confinement claims are inherently case specific and turn on many individual inquiries.”
Id. (cleaned up). The Ninth Circuit ultimately held the plaintiffs’ allegations were not an aggregation of
many claims of individual mistreatment; rather, the claim was that ADC’s “policies and practices of
statewide and systemic application expose all inmates in ADC custody to a substantial risk of serious harm,”
which was sufficient to show commonality. Id. at 675–76. Mills and Heredia’s allegations here function the
same way.


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finds continued compliance with that prior policy pending the outcome of this litigation will

not impose any major burden on State Defendants. Thus, the balance of hardships continues

to “tip sharply” in favor of plaintiffs. Alliance for the Wild Rockies, 68 F.4th at 490–91.

       As for the public interest, State Defendants continue in silence. The public certainly

has an interest in the enforcement of duly enacted laws, and the Court does recognize that

taxpayer dollars fund the medical treatments of incarcerated inmates. But the Court remains

obligated to protect the public’s interest in preventing constitutional violations. Porretti, 11

F.4th at 1050–51. While it remains to be determined whether such a violation is present here,

the public is best served if the Court continues to steer clear of potential constitutional

impingement. Thus, this final factor also weighs in favor of granting another preliminary

injunction.

       4. Needs-Narrowness-Intrusiveness Requirement

       As discussed above, the PLRA imposes additional requirements before a preliminary

injunction may be issued. 18 U.S.C. § 3626(a)(2). The scope of the preliminary injunction

Plaintiffs requested only enjoins the enforcement of the Act as it applies to class members

receiving hormone therapy. See Dkt. 2, at 2. And that is the scope of the Court’s prior order.

As the Court’s specifically noted, “The class will remain subject to the rest of the Act, and

the rest of Idaho will remain subject to the entirety of the Act.” Dkt. 58, at 4.

       The injunction is, therefore, narrowly drawn to only a small group of affected

individuals receiving one type of gender-affirming treatment. It extends no further than

necessary because it protects only those individuals who would have otherwise been

eligible for hormone therapy under IDOC’s previous policies, which, in turn, maintains the


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status quo and ensures no violation of class members’ Eight Amendment rights pending a

final decision on the merits.7

        Finally, the injunction is the least intrusive means necessary to protect the class

members’ rights because it does not impose any burdens on prison operations beyond what

IDOC had already self-imposed prior to the Act. See Armstrong v. Schwarzenegger, 622

F.3d 1058, 1071 (9th Cir. 2010) (“What is important, and what the PLRA requires, is a

finding that . . . the ‘relief’ . . . corrects the violations of the prisoners’ rights with [as

minimal of an impact as] possible on [a prison’s] discretion over their policies and

procedures.”) Therefore, this preliminary injunction satisfies the needs-narrowness-

intrusiveness requirement of the PLRA and can properly be issued.

        5. Conclusion

        A preliminary injunction enjoining enforcement of the Act as it pertains to hormone

therapy being provided to members of the class comports with PLRA requirements. All four

factors that must be weighed in granting a preliminary injunction—a serious question going

to the merits, a likelihood of irreparable harm, the balance of equities, and the public

interest—all weigh in favor of granting a preliminary injunction. Therefore, the Court will

grant a second preliminary injunction in this case.

                                          V. CONCLUSION

        Under Ninth Circuit case law, the Court has the authority to issue a second




7
 The Court emphasizes this Order is not a final decision. It remains to be seen whether the disputed sections
of Idaho Code § 18-8901 are constitutional. This Order simply allows the class members to continue to
receive medication until the Court can make a final, informed decision in this case.


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preliminary injunction under the PLRA if Plaintiffs show that such relief is still warranted.

Plaintiffs have made the requisite showing that a preliminary injunction is appropriate in

this case. This injunction also complies with the needs-narrowness-intrusiveness

requirement of the PLRA. Accordingly, the Court orders a second preliminary injunction

against enforcement of the Act as described herein.

                                                    VI. ORDER

The Court HEREBY ORDERS:

       1. Plaintiffs’ Motion for Preliminary Injunction (Dkt. 80) is GRANTED.

       2. The Court enjoins enforcement of Idaho Code § 18-8901’s prohibition on the use

           of state funds for purposes of providing hormone therapy as against the class for

           the next 90 days.8


                                                                 DATED: December 3, 2024


                                                                 _________________________
                                                                 David C. Nye
                                                                 Chief U.S. District Court Judge




8
    This injunction takes effect on December 3, 2024, after the expiration of the first injunction on December 2, 2024.


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